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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG MDL NO.: 2179

“DEEPWATER HORIZON”
SECTION: J
THIS DOCUMENT RELATES TO:
JUDGE BARBIER
CASE NO.:2:10-cv-08888; 2:10-cv-02771

MAG. JUDGE SHUSHAN

ORDER

Considering the above and foregoing Final Motion of Dismissal; with Prejudice,

IT IS HEREBY ORDERED, ADJUDGED AND DECREED that all matters in
this controversy filed by Emest Antonio Sonora, Doc. No.: 42622, against any party
including, but not limited to, all British Petroleum entities, all Trans Ocean entities, and
all other Defendants listed on the Attachment “A” to the Gulf Coast Claims Facility
Release and Covenant Not To Sue, be and hereby dismissed in their entirety with full
prejudice, each party to bear their own costs.

Signed in New Orleans, Louisiana this day of , 2011.

Honorable Carl J. Barbier
UNITED STATES DISTRICT JUDGE
